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                                                  UNITED STATES DlSTRCT COURT
    UNiTED STATES OF AMERICA                         DISTRICT OF NEW JERSEY

                  Plaintiff,
                                                     CRIM. No. 08-327
           vs.
                                                      Hon. Stanley R. Chesler
   ANDREW MEROL.A, t aL                               United States District Judge


                  Defendant                           CONSENT ORDER


          THIS MATTER having been brought belore the Court on application of John
   Tizio (E. Alexander Jardines, Esq., appearing). (Ronald D, Wigler, zUSA, appearing).
   and Paul J. Fishrnan. United States Attorney for the District of New Jersey, and William
   Sobchik.. pre trial services, for a crscnt order grantir the following
          JT IS on thic           i-i          da’ of \ocrnher 2009
          ORDERED that Defendant s electrorne monitoring deiotmoved
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                                                      Hon. Stanley R. Chesler, USDJ




   Attorney for the f)eendant

     ;v ;                S.


   Ronald 1), Wigler
   Assistant U.S. Attorney




  PreTrial SupervisTor
